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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )
                                                   )
vs.                                                )   CRIMINAL NO. 00-40101-05-GPM
                                                   )
BRAD TAYLOR,                                       )
                                                   )
                       Defendant.                  )


                            MEMORANDUM AND ORDER
MURPHY, District Judge:

       Brad Taylor is serving a 377 month term of imprisonment which was imposed by this Court

on August 20, 2001, following a jury’s determination of his guilt (see Docs. 230, 232-234, 354).

On March 3, 2008, Taylor asked the Court to appoint counsel to assist him on seeking a reduction

in sentence pursuant to recent amendments to the United States Sentencing Guidelines as they relate

to crack cocaine offenses. The Court promptly appointed counsel to represent Taylor, and counsel

has now moved to withdraw on the basis that he can make no non-frivolous arguments in support

of a reduction pursuant to 18 U.S.C. § 3582(c) (Doc. 515). See Anders v. California, 386 U.S. 738,

744 (1967). In response to counsel’s motion to withdraw, Taylor asks the Court “for leave to

withdraw motion for reduction of sentence pursuant to 18 U.S.C. § 3582(c) without prejudice” or,

in the alternative, ninety (90) days to conduct additional research on the issue (Doc. 516).

       As an initial matter, the Court notes that no motion for reduction of sentence is pending.

Thus, Taylor’s request to withdraw his motion is moot. And, because the Court determines that

Taylor is not entitled to a reduction (for the reasons set forth below), it is unnecessary to grant him

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more time to conduct legal research on the issue.

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing range

that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o).”

In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and must ensure that

any reduction “is consistent with applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence reduction under

§ 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must have lowered the

applicable guideline sentencing range, and (2) the reduction must be consistent with applicable

policy statements issued by the Sentencing Commission. If the defendant cannot satisfy the first

criterion, the Court has no subject matter jurisdiction to consider the reduction request. United

States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v. Forman, 553 F.3d

585, 588 (7th Cir.), cert. denied sub nom McKnight v. United States, 129 S.Ct. 1924 (2009).

       Taylor is not entitled to a reduction in his sentence because he cannot satisfy the first

criterion of that statute; he was not “sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711 amended U.S.S.G. § 2D1.1(c) as of

November 1, 2007, to lower by two points the base offense levels associated with various amounts

of crack cocaine. The Sentencing Commission amended U.S.S.G. § 2D1.1(c) intending to alter the

disparity in sentences involving crack cocaine and sentences involving powder cocaine. Taylor,

however, was sentenced based on relevant conduct of 2.7 kilograms of crack cocaine; his sentencing

guideline range was 360 months to life imprisonment. He was also determined to be a Career


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Offender. If the Court were to give Taylor a two-level reduction, his new offense level would be

36 – that is, if he were not a Career Offender. Because he is a Career Offender, however, his new

offense level can only be lowered to 37, because the maximum term of imprisonment on Count 1

is life imprisonment. See U.S.S.G. § 4B1.1. With an offense level of 37 and a Criminal History

Category VI, the new guideline range is still 360 months to life imprisonment. Thus, Taylor’s

guideline range has not been lowered, and he cannot satisfy the first criterion under 18 U.S.C. §

3582(c)(2) for obtaining a sentence reduction.

        The Court has confirmed the representations in counsel’s motion to withdraw and agrees that

Taylor is not entitled to a reduction in sentence for the reasons just mentioned. It would serve no

purpose to give him additional time to research the issue. The Court is simply not authorized to

grant any relief.

        The Court therefore GRANTS counsel’s motion to withdraw (Doc. 515) and DENIES

Defendant’s motion to withdraw document/motion to extend time (Doc. 516).

        IT IS SO ORDERED.

        DATED: 6/16/09

                                                     s/ ZA ctàÜ|v~ `âÜÑ{ç
                                                     G. Patrick Murphy
                                                     United States District Judge




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